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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.

  FRANGIPANI MIAMI LLC, a Florida
  limited liability company,

        Defendant.
  ________________________________/

                                            COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant FRANGIPANI

  MIAMI LLC, a Florida limited liability company, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

  This also is an action for declaratory and injunctive relief, damages, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of the Rehabilitation Act of

  1973, 29 U.S.C. §794, et seq. (“Rehab Act”).

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.
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         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”). Plaintiff is also expressly authorized to bring this case as an otherwise qualified

  person with a disability under the Rehab Act, 29 U.S.C. §§794(a)(2) and 794(b)(3)(A), and under

  Section 505-f of the Rehab Act which enforces Section 504 of the Rehab Act, 29 U.S.C. §§794

  and 794a, incorporating the rights and remedies set forth in Title VI of the Civil Rights Act of

  1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been visually disabled in that he suffers

  from optical nerve atrophy, a permanent eye disease and medical condition that substantially and

  significantly impairs his vision and limits his ability to see. Plaintiff thus is substantially limited

  in performing one or more major life activities, including, but not limited to, seeing, accurately

  visualizing his world, and adequately traversing obstacles. As such, he is a member of a protected

  class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth

  at 28 CFR §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff is also an otherwise qualified

  individual with a disability who has been denied the benefits of a program or activity receiving

  federal financial assistance and is thus covered by the Rehab Act, 29 U.S.C. §794(a). Plaintiff

  further is an advocate of the rights of similarly situated disabled persons and is a “tester” for the

  purposes of asserting his civil rights and monitoring, ensuring, and determining whether places of

  public accommodation and/or the recipients of federal financial assistance and/or their respective

  and associated websites are in compliance with the ADA, the Rehab Act, and any other applicable

  disability laws, regulations, and ordinances.

         6.      Because he is blind and visually disabled, Plaintiff cannot use his computer without

  the assistance of appropriate and available screen reader software. Screen reader software



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  translates the visual internet into an auditory equivalent. At a rapid pace, the software reads the

  content of a webpage to the user. “The screen reading software uses auditory cues to allow a

  visually impaired user to effectively use websites. For example, when using the visual internet, a

  seeing user learns that a link may be ‘clicked,’ which will bring her to another webpage, through

  visual cues, such as a change in the color of the text (often text is turned from black to blue). When

  the sighted user's cursor hovers over the link, it changes from an arrow symbol to a hand. The

  screen reading software uses auditory – rather than visual – cues to relay this same information.

  When a sight impaired individual reaches a link that may be ‘clicked on,’ the software reads the

  link to the user, and after reading the text of the link says the word ‘clickable.’…Through a series

  of auditory cues read aloud by the screen reader, the visually impaired user can navigate a website

  by listening and responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767,

  2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns, operates, and/or controls a designer

  accessories store that Plaintiff had patronized and/or intended to patronize in the near future located

  at 2239 NW 2nd Avenue, Miami, Florida Defendant also owns, leases, leases to, or operates a

  business operating in Florida that is the recipient of federal financial assistance as a whole within

  the meaning of Rehab Act, 29 U.S.C. §794(b)(3)(A)(i). See attached Exhibit “A”.

         8.      Plaintiff’s blindness and visual disability limits him in the performance of major

  life activities, including sight, and he requires assistive technologies, auxiliary aids and services

  for effective communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is significantly and

  permanently blind and visually disabled, in order to effectively communicate and comprehend



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  information available on the internet and to thereby access and comprehend websites, Plaintiff

  uses commercially available screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a designer accessory store under the brand name “Frangipani.” The

  Frangipani store is open to the public. As the owner and operator of this retail store, Defendant is

  defined as a place of “public accommodation" within meaning of Title III because Defendant is a

  private entity which owns and/or operates “a bakery, grocery store, clothing store, hardware store,

  shopping center, or other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R.

  §36.104(2).

         11.     Because Defendant is a store open to the public, it is a place of public

  accommodation subject to the requirements of Title III of the ADA, 42 U.S.C. §12182,

  §12181(7)(E), and its implementing regulations. 28 C.F.R. Part 36.

         12.     Defendant     controls,   maintains,   and/or    operates   an   adjunct    website,

  https://www.frangipanimiami.com (the “Website”). One of the functions of the Website is to

  provide the public information on Defendant’s store that sells its merchandise within the State of

  Florida. Defendant also sells to the public its merchandise through the Website, which acts as a

  critical point of sale for the purchase of merchandise from and in Defendant’s physical store.

         13.     The Website also services Defendant’s physical store by providing information on

  its available merchandise, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about

  Defendant’s physical store, purchase merchandise from Defendant that is also available for

  purchase in and from its physical store, have merchandise purchased online delivered to the user’s



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  home, and sign up for an electronic emailer to receive exclusive online offers, benefits, invitations,

  and discounts for use both online and in the physical store, the Website is an extension of, gateway

  to, and necessary service, privilege, and advantage of Defendant’s physical store, which is a place

  of public accommodation under the ADA. Because of this nexus, and as an extension of and

  necessary service, privilege, and advantage provided by a place of public accommodation as

  defined under the ADA, the Website is an extension of the services, privileges, and advantages

  made available to the general public by Defendant at and through its brick-and-mortar location

  and business. Furthermore, the Website is a necessary service and privilege of Defendant’s

  physical store in that, as a critical point of sale for Defendant’s store, it enables users of the Website

  to make online purchases of Defendant’s merchandise that is also available from and in its physical

  store.

           15.    Because the public can view and purchase Defendant’s merchandise through the

  Website that is also offered for sale from and in Defendant’s physical store, thus having the

  Website act as a point of sale for Defendant’s products sold in and through its physical store, have

  merchandise purchased online delivered to the user’s home, and sign up for an electronic emailer

  to receive exclusive online offers, benefits, invitations, and discounts for use both online and in

  the physical store, the Website is an extension of, gateway to, and necessary service, privilege, and

  advantage of the physical store, which is a place of public accommodation under the ADA, 42

  U.S.C. §12181(7)(E). As such, the Website has a nexus to , and is a necessary service, privilege,

  and advantage of Defendant’s brick and mortar store that must comply with all requirements of

  the ADA, must not discriminate against individuals with visual disabilities, and must not deny

  those individuals the same full and equal access to and enjoyment of the goods, services, privileges,

  and advantages afforded to the non-visually disabled public both online and in the physical store.



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         16.     Since the Website is open to the public through the internet, and acts as a critical

  point of sale of merchandise available in and from Defendant’s physical store, by this nexus the

  website is an necessary service, privilege and advantage of Defendant’s brick and mortar store that

  must comply with all requirements of the ADA, must not discriminate against individuals with

  visual disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the services, privileges, and advantages as afforded the non-visually disabled public

  both online and in the physical store. As such, Defendant has subjected itself and the Website to

  the requirements of the ADA. In addition, as a recipient of federal financial assistance to the

  company as a whole, Defendant has subjected itself and all of its operations, programs, and

  activities, including its Website, to the requirements, prohibitions, and anti-discrimination

  provisions of the Rehab Act.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers described herein are removed or

  remedied, Defendant’s physical store, and to purchase merchandise and sign up for an electronic

  emailer to receive exclusive offers, benefits, invitations, and discounts for use on the Website or

  in the physical store. In the alternative, Plaintiff intends to monitor the Website in the near future,

  as a tester, to ascertain whether it has been updated to interact properly with screen reader software.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise available for

  purchase in and delivery from the physical store and to sign up for an electronic emailer to receive

  exclusive offers, benefits, invitations, and discounts for use online and in the physical store from

  his home are important and necessary accommodations for Plaintiff because traveling outside of

  his home as a blind and visually disabled individual is often a difficult, hazardous, frightening,

  frustrating, and confusing experience. Defendant has not provided its business information in any



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  other digital format that is accessible for use by blind and visually impaired individuals using

  screen reader software.

         19.     Like many consumers, Plaintiff accesses numerous websites at a time to help plan

  his store visits, and to compare merchandise, services, prices, sales, discounts, and promotions.

  Plaintiff may look at several dozens of sites to compare merchandise, features, services, discounts,

  promotions, and prices.

         20.     During the month of November 2021, Plaintiff attempted on a number of occasions

  to utilize the Website to browse through the merchandise and online offers to educate himself as

  to the merchandise, sales, discounts, and promotions being offered, with the intent of making a

  purchase through the Website or at Defendant’s store.

         21.     Plaintiff utilizes screen reader software that allows individuals who are blind and

  visually disabled to communicate with websites. However, Defendant’s Website contains access

  barriers that prevent free and full use by blind and visually disabled individuals using keyboards

  and available screen reader software. These barriers are pervasive and include, but are not limited

  to:

                 a. Home page button/company logo is mislabeled;

                 b. Search button is mislabeled as “scan off”;

                 c. Log in button is mislabeled as “account down”;

                 d. Promotional images are mislabeled as “link”;

                 e. When browsing, the products images are mislabeled as “link”;

                 f. Once an item is selected, the item price is not labeled to integrate with the
                    screen reader;

                 g. Quantity increase and decrease buttons are mislabeled as “minus/plus”;

                 h. In the shopping cart, the item price and subtotal are not labeled;


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                 i. The company address is not accessible; and

                 j. Text throughout the website is not properly labeled; the cursor skips the
                    information and navigates to the next available link;

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical store as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical store and to use the Website, but he

  is unable to fully do so as he is unable to effectively communicate with Defendant due to his severe

  visual disability and the Website’s access barriers. Alternatively, as a tester using scree reader

  software, Plaintiff is unable to effectively access, navigate, and communicate with Defendant

  through the Website due to his severe blindness and visual disability and the Website’s access

  barriers. Thus, Plaintiff, as well as others who are blind and with visual disabilities, will suffer




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  continuous and ongoing harm from Defendant’s intentional acts, omissions, policies, and practices

  as set forth herein unless properly enjoined by this Court.

          26.     Because the Website clearly provides support for and is directly connected with

  Defendant’s retail store for its operation and use, and thus is a necessary extension, service,

  privilege, and advantage of Defendant’s brick and mortar store for the purchase of Defendant’s

  merchandise, the Website must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  access to and enjoyment of the goods, services, privileges, advantages as are afforded the non-

  visually disabled public both online and in the physical store, which is a place of public

  accommodation subject to the requirements of the ADA. In addition, because Defendant is a

  recipient of federal funds as a whole, Defendant and all of its operations, programs, and activities,

  including the Website, are also subject to the requirements of the Rehab Act and must not exclude

  or discriminate against qualified or otherwise qualified individuals with visual disabilities such as

  Plaintiff.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.




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          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the blind and visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled and blind communities.

          36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

          37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to blind and visually disabled individuals who want

  the safety and privacy of purchasing Defendant’s merchandise offered on the Website online from

  their homes.

          38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

  goods, services, facilities, privileges, advantages, accommodations, programs, and activities

  provided by and through the Website in contravention of the ADA and the Rehab Act.



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         39.     Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act,

  public accommodations and companies that receive federal financial assistance must not

  discriminate against disabled persons and are required to make the facilities, programs, and

  activities they operate fully and readily accessible to persons with disabilities.

         40.     he broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping Websites, such as the Website at issue in the instant

  action. In addition, Congress enacted the Rehab Act to enforce the policy of the United States that

  all programs, projects and activities receiving federal assistance " ... be carried out in a manner

  consistent with the principles of ... inclusion, integration and full participation of the individuals

  [with disabilities]." 29 U.S.C. §701(c)(3).

         41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website that prevent individuals with visual disabilities from the means

  to comprehend information presented therein.

         42.     Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

         43.      The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities such as Plaintiff.

         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means




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  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with the Website’s access and operation.

         45.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

  pursuant to 28 U.S.C. §§2201 and 2202.

         47.     Plaintiff has retained the undersigned attorneys to represent him in this case, and

  has agreed to pay them a reasonable fee for their services.



                              COUNT I – VIOLATION OF THE ADA

         48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

         49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA as defined within §12181(7)(E) and thus is subject to the ADA.

         50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s store,

  acts as a point of sale for Defendant’s physical store by allowing users to purchase merchandise

  that is also available for purchase in and from the physical store, and allows users to sign up for

  an electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use

  both online and in the physical store. The Website thus, has a nexus to, is an extension of, gateway

  to, and necessary service, privilege, and advantage of, and facilitates the operation of Defendant’s

  physical store, which Plaintiff intended to patronize. Further, the Website also serves to augment

  and facilitate Defendant’s physical store by providing the public information on the location of the

  store and by educating the public as to Defendant’s available products sold through the Website



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  and in the physical store. The Website thus is necessary for Plaintiff to fully enjoy and have access

  to all of the goods, services, privileges, and advantages being offered by Defendant both online

  and in the physical store.

         51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         54.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.




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          55.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied the full and equal enjoyment of and access to the goods, information, and services that

  Defendant has made available to the public on its Website and in its physical store in violation of

  42 U.S.C. §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

          56.     The Website was subsequently visited by Plaintiff’s expert in December 2021, and

  the expert determination was that the same access barriers that Plaintiff had initially encountered,

  as well as numerous additional access barriers, existed. Defendant furthermore has not disclosed

  to the public any intended audits, changes, or lawsuits to correct the inaccessibility of the Website

  to visually disabled individuals, nor has it posted on the Website an effective “accessibility” notice,

  statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable

  alternative means to access and navigate the Website.          Defendant thus has failed to make

  reasonable modifications in its policies, practices, or procedures when such modifications are

  necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective

  “accessibility” notice, policy, or statement and the numerous access barriers as alleged herein and

  as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite

  Exhibit “B” and the contents of which are incorporated herein by reference, continue to render the

  Website not fully accessible to users who are blind and visually disabled, including Plaintiff.

          57.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

          58.     Further, the Website does not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Website’s accessibility information and

  accessibility facts.



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         59.     There are readily available, well-established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

         60.     Defendant has violated the ADA – and continues to violate the ADA – by denying

  access to the Website by individuals, such as Plaintiff, with visual disabilities who require the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Website are ongoing.

         61.     The ADA and ADAAA require that public accommodations and places of public

  accommodation ensure that communication is effective.

         62.     According to 28 C.F.R. §36.303(b) (1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems.” Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

         63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c) (1) (ii).




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         64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         65.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         66.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website that is a necessary extension, service, privilege, and advantage of, and critical

  point of sale for, Defendant’s brick and mortar store, Plaintiff has suffered an injury in fact by

  being denied full access to and enjoyment of Defendant’s physical store.

         67.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303 to remedy the

  ongoing disability discrimination.

         68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a statement as to Defendant’s

  policy to ensure persons with visual disabilities have full and equal access to and enjoyment of the

  goods, services, facilities, privileges, advantages, and accommodations through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual



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  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical store and becoming informed of and purchasing

  Defendant’s merchandise online, and during that time period prior to the Website’s being designed

  to permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website.

         69.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that

               individuals with visual disabilities can access, and continue to access, the Website and

               effectively communicate with the Website to the full extent required by Title III of the

               ADA;




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        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo 1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform




  1
                    or similar.

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                  all web content and services with ADA accessibility requirements and applicable

                  accessibility guidelines;

            I. An Order directing Defendant, by a date certain and at least once every three months

                  thereafter, to conduct automated accessibility tests of the Website to identify any

                  instances where the Website is no longer in conformance with the accessibility

                  requirements of the ADA and any applicable accessibility guidelines, and further

                  directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                  counsel for review;

            J. An Order directing Defendant, by a date certain, to make publicly available and directly

                  link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                  ensure the persons with disabilities have full and equal enjoyment of the Website and

                  shall accompany the public policy statement with an accessible means of submitting

                  accessibility questions and problems;

            K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

            L. Such other and further relief as the Court deems just and equitable.

                     COUNT II – VIOLATION OF THE REHABILITATION ACT

            70.      Plaintiff re-alleges paragraphs 1 through 47 and 56 through 59 as if set forth fully

  herein.

            71.

  As more specifically set forth above, Defendant has violated the Rehab Act by failing to interface

  the Website with software utilized by blind and visually disabled individuals. Thus, Defendant has

  violated the following provisions either directly or through contractual, licensing, or other




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  arrangements with respect to Plaintiff and other similarly situated individuals solely by reason of

  their disability:

          a)      By excluding Plaintiff from participation in and denying him the benefits of or

  subjecting him to discrimination under any program or activity receiving federal financial

  assistance as a whole, Defendant has violated the Rehab Act;

          b)      Congress enacted the Rehab Act to enforce the policy of the United States that all

  programs, projects and activities receiving federal assistance “…be carried out in a manner

  consistent with the principles of…inclusion, integration and full participation of the individuals

  [with disabilities].” 29 U.S.C. Section 701 (c)(3);

          c)      Defendant is a recipient of federal financial assistance as a whole bringing it under

  the Rehab Act, which prohibits discrimination against qualified or otherwise qualified individuals

  in all of the recipient's "programs or activities";

          d)      Section 504 of the Rehab Act prohibits recipients of federal funding as a whole

  from discriminating against disabled persons and requires that their facilities, programs, and

  activities be readily accessible to persons with disabilities;

          e)      The Rehab Act defines "program or activity" as all of the operations of the entire

  corporation, partnership, or other private organization, or sole proprietorship that receives federal

  financial assistance as a whole. Defendant's Website and its content thus are a "program or activity"

  within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A);

          f)      Plaintiff was denied access to the Website solely by reason of his disability. This

  denial of access to Defendant's "program or activity" subjected Plaintiff to discrimination,

  excluded Plaintiff from participation in the program or activity, and denied Plaintiff the goods,

  benefits, and services of the Website, a service available to those persons who are not blind or



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  visually disabled. As of this filing, the Website remains inaccessible to qualified or otherwise

  qualified persons with a visual disability such as Plaintiff;

         g)      The international website standards organization, WC3, has published widely

  accepted guidelines (WCAG 2.0 and WCAG 2.1 AA) for making digital content accessible to

  individuals with disabilities. These guidelines have been endorsed the United States Department

  of Justice and by Federal courts and the United States Access Board; and

         h)      Defendant has engaged in unlawful practices in violation of the Rehab Act in

  connection with the operation of the Website. These practices include, but are not limited to,

  denying Plaintiff, an individual with a disability who, with or without reasonable modifications to

  the rules, policies, or practices, the removal of communication barriers, or the provision of

  auxiliary aids and services, meets the essential eligibility requirements for the receipt of services

  to participate in programs or activities provided by Defendant.

         72.     Defendant has acted with deliberate indifference to the applicable provisions of the

  Rehab Act as to the unlawful practices described herein because Defendant is fully aware of the

  inaccessible features of its Website and has failed to remediate the Website to make it equally

  accessible to persons with visual disabilities. Defendant knew that harm to a federally protected

  right was substantially likely to occur, yet it failed to act on that likelihood when it failed to

  remediate its Website. Defendant knew this, and on information and belief, a person with authority

  with Defendant to order the remediation of the Website made a deliberate choice not to remediate

  and to continue to offer the inaccessible Website to its customers and potential customers knowing

  that the Website was, and continues to be, inaccessible to the blind and visually disabled.

         73.     Plaintiff would like to be a customer at Defendant's brick-and-mortar store but

  before he goes to the store, he would like to determine what is available for his purchasing, what



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  promotions are being offered, and what new items are currently available. In that regard, Plaintiff

  continues to attempt to utilize the Website and/or plans to continue to attempt to utilize the Website

  on a regular basis to make selections for purchasing online or in the store.

         78.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

  that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

  unless he is willing to suffer additional discrimination.

         79.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

  result of the discriminatory conditions present at the Website. By continuing to operate the Website

  with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

  segregation and deprives Plaintiff the full and equal enjoyment of the benefits of the programs and

  activities available to the general public. By encountering the discriminatory conditions at

  Defendant's Website and knowing that it would be a futile gesture to attempt to utilize the Website

  unless he is willing to endure additional discrimination, Plaintiff is deprived of the meaningful

  choice of freely visiting and utilizing the same stores or the Website readily available to the general

  public and is deterred and discouraged from doing so. By maintaining the Website with access

  and Rehab Act violations, Defendant deprives Plaintiff the equal access to and participation in the

  benefits of Defendant’s programs and activities as the non-visually disabled public.

         80.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of Defendant's discrimination until the Defendant is compelled to comply with the requirements

  of the Rehab Act.

         81.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

  from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

  above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to



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  discrimination in violation of the Rehab Act by Defendant. Plaintiff desires to access the Website

  to avail himself of the benefits therein and/or to assure himself that the Website is in compliance

  with the Rehab Act so that he and others similarly situated will have full and equal access to and

  enjoyment of the Website without fear of discrimination.

          82.     Plaintiff and all others similarly situated will continue to suffer such discrimination,

  injury, and damage without the immediate relief provided by the Rehab Act as requested herein.

          83.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

  on the facts alleged hereinabove.

          84.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

  fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §794a.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

          A.      A declaration that determines that Defendant's Website at the commencement of

  the subject lawsuit is in violation of the Rehabilitation Act;

          B.      A declaration that Defendant's Website continues to be in violation of the

  Rehabilitation Act;

          C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

  monitor and maintain its Website to ensure that it is readily accessible to and usable by persons

  with visual disabilities;

          D.      Issuance of an Order directing Defendant to alter its Website to make it accessible

  to, and useable by, individuals with visual disabilities to the full extent required by the

  Rehabilitation Act;




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         E.      Issuance of an Order directing Defendant to evaluate and neutralize its policies and

  procedures towards persons with disabilities for such reasonable time so as to allow Defendant to

  undertake and complete corrective and remedial procedures;

         F.      Issuance of an Order directing Defendant to continually update and maintain its

  Website to ensure that it remains fully accessible to and usable by visually disabled individuals;

         G.      Award Plaintiff his compensatory damages for Defendant’s intentional

  discrimination;

         H.      Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to 29

  U.S.C. §794a; and

         I.      Award such other relief as the Court deems just and proper, and/or is allowable

  under the Rehabilitation Act.

         DATED: January 12, 2022
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